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Exhibit J
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Chantelle D'Angelo

From: Dmitry Lev, Esq, <dlev@leviaw.net>

Sent: Thursday, July 02, 2015 1:48 PM

To: Chantelle D'Angelo

Subject: Re: Niles matter

Attachments: Niles $ Wakefield b.pdf; Niles S Wakefield m.pdf
Follow Up Flag: Follow up

Flag Status: Completed

Attached please find the medical and billing records from Wakefield Physical Therapy. Lahey Clinic has not provided 178
pages of ER, hospitalization, and treatment records because there is a dispute regarding the prepayment for their
copying service. Accordingly, the Lahey records are not - nor have ever been - without my care, custody, or control,

Please let me know if you need anything else.

Very truly yours,

Dmitry Lev, Esq.

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dlev@levlaw.net

On Thu, Jul 2, 2015 at 1:42 PM, Chantelle D'Angelo <cDAngelo@Iccplaw.com> wrote:
> Attorney Lev,

>

>

>

> As a follow-up to our telephone conversation today, | want to

> reiterate that | need a definite timeframe on the outstanding

> medicals. You have previously indicated that these two providers had

> treated the Plaintiff's alleged injuries after the incident, yet we

> have not received any such records. We originally sent Requests for

> Production of Documents back on July 31, 2014. Since that time, you

> have repeatedly assured me the medicals were going to be produced and
> we have not received anything. Discovery closed almost a month ago.

>

>

>

> If you cannot give me a definite date to have the medicals in hand by

> next Tuesday, | will be filing a Motion to Compe! their production

> with the Court, along with costs and attorney's fees related to that motion.
>

>
